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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  HOWARD MICHAEL CAPLAN,

                  Plaintiff,

                  vs.

  CARIBBEAN AUTOWORKS, INC., a
  Florida Profit Corporation, DAMIAN ROSE
  and CINDY LOU ROSE, Individuals,

            Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff, HOWARD MICHAEL CAPLAN (hereinafter “Plaintiff”), through the
  undersigned      counsel,    hereby   files   this   complaint   and    sues   CARIBBEAN
  AUTOWORKS, INC. (“AUTOWORKS”), DAMIAN ROSE (“D. ROSE”) and CINDY LOU
  ROSE (“C. ROSE”) (hereinafter, collectively referred to as “Defendants”), for
  declaratory and injunctive relief; for discrimination based on disability; and for
  the resultant attorney's fees, expenses, and costs (including, but not limited to,
  court   costs    and   expert   fees),    pursuant   to   42   U.S.C.   §12181   et.   seq.,
  ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.      This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE
  2.      The venue of all events giving rise to this lawsuit is located in Broward

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  County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of
  the United States District Court for the Southern District of Florida, this is the
  designated court for this suit.


  PARTIES
  3.     Plaintiff, HOWARD MICHAEL CAPLAN, is a resident of the State of
  Florida. At the time of Plaintiff’s visit to Caribbean Autoworks (“Subject
  Facility”), Plaintiff suffered from a “qualified disability” under the ADA, which
  substantially limits Plaintiff’s major life activities, including but not limited to
  walking, and requires the use of a mobility aid. The Plaintiff personally visited
  Caribbean Autoworks, but was denied full and equal access, and full and equal
  enjoyment of the facilities, services, goods, and amenities within Caribbean
  Autoworks, which is the subject of this lawsuit. The Subject Facility is an auto
  repair, and Plaintiff wanted to inquire about their services but was unable to due
  to the discriminatory barriers enumerated in Paragraph 15 of this Complaint.


  4.     In the alternative, Plaintiff, HOWARD MICHAEL CAPLAN, is an
  advocate of the rights of similarly situated disabled persons and is a “tester” for
  the purpose of asserting his civil rights and monitoring, ensuring and
  determining whether places of public accommodation are in compliance with the
  ADA.


  5.     Defendants, AUTOWORKS, D. ROSE and C. ROSE are authorized to conduct
  business and are in fact conducting business within the State of Florida. The
  Subject Facility is located at 6610 Pembroke Road, Pembroke Pines, FL 33023.
  Upon information and belief, AUTOWORKS is the lessee and/or operator of the
  Real Property and therefore held accountable of the violations of the ADA in the
  Subject Facility which is the matter of this suit. Upon information and belief, D.
  ROSE and C. ROSE are the owners and lessors of the Real Property where the
  Subject Facility is located and therefore held accountable for the violations of
  the ADA in the Subject Facility which is the matter of this suit.

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  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and
          prejudice denies people with disabilities the opportunity to compete on
          an equal basis and to pursue those opportunities for which this country
          is justifiably famous, and costs the United States billions of dollars in

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              unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the    full   and   equal    enjoyment      of    the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation.
  Caribbean Autoworks is a place of public accommodation by the fact it is an
  establishment that provides goods/services to the general public, and therefore,
  must comply with the ADA. The Subject Facility is open to the public, its
  operations affect commerce, and it is a service establishment. See 42 U.S.C.
  Sec. 12181 (7) and 28 C.F.R. 36.104. Therefore, the Subject Facility is a public
  accommodation that must comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Caribbean Autoworks located at 6610 Pembroke
  Road, Pembroke Pines, FL 33023, as prohibited by 42 U.S.C. §12182, and 42
  U.S.C. §12101 et. seq.; by failing to make reasonable modifications in policies,
  practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and by
  failing       to    remove        architectural       barriers   pursuant     to    42     U.S.C.

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  §12182(b)(2)(A)(iv).


  12.     Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.     The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:

        a) The parking facility at the auto service repair shop does not provide a

          compliant accessible parking space. 2012 ADA Standards 502.1




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     b) The parking facility does not have the minimum number of accessible

        parking spaces required. 2012 ADA Standards 208.2

     c) The business has parking in the front and side of the business. One (1)

        compliant accessible parking space with adjacent access aisle is required.

        2012 ADA Standards 208.2

     d) Where a total of four or fewer parking spaces, including accessible

        parking spaces are provided on a site, identification of accessible parking

        spaces are not required by DOJ regulations. All other accessible routes

        and elements at the facility must be compliant. 2010 ADA Standards

        216.5

     e) The     parking   facility   does   not   provide   compliant   directional   and

        informational signage to a compliant accessible parking space. 2012 ADA

        Standards 216.5

     f) There is no compliant access aisle attached to an accessible route serving

        any existing parking space which would allow safe entrance or exit of

        vehicle for accessible persons requiring mobility devices.           2012 ADA

        Standards 502.2

     g) There is currently no existing accessible route to help persons with

        disabilities safely maneuver through the parking facilities. Accessible

        routes must connect parking spaces to accessible entrances. 2012 ADA

        Standards 502.3




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        h) Existing facility does not provide a compliant accessible route to the main

           auto repair service office from any site arrival point. 2012 ADA Standards

           206.2, 208, 401.1

        i) The main auto repair service office entrance is non-compliant. There is a

           vertical rise (5-inch step) from the parking lot up to the main entrance

           door exceeding the maximum rise allowed. Changes in level of 1/4 inch

           high maximum are permitted to be vertical. 2012 ADA Standards 302.2

        j) The facility does not provide compliant directional and informational

           signage to an accessible route which would lead to an accessible entrance.

           Where not all entrances comply, compliant entrances must be identified

           by the International Symbol of Accessibility. Directional signs that

           indicate the location of the nearest compliant entrance must be provided

           at entrances that do not comply. 2012 ADA Standards 216.6

  16.      Upon information and belief there are other current violations of the ADA
  at Caribbean Autoworks. Only upon full inspection can all violations be
  identified. Accordingly, a complete list of violations will require an on-site
  inspection by Plaintiff’s representatives pursuant to Rule 34b of the Federal
  Rules of Civil Procedure.


  17.      Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public

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  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.    The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an Order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, closing the Subject Facility until the requisite
  modifications are completed, entering an Order directed at maintenance and
  future compliance, and entering an Order for Defendants to make reasonable
  modifications in policies, practices, or procedures.




                         COUNT I- DECLARATORY RELIEF


  21.    Plaintiff hereby incorporates by reference all of the allegations set forth
  in paragraphs 1 through 20 above as though fully set forth verbatim herein.


  22.    Defendants have discriminated, and continue to discriminate against
  Plaintiff, and others who are similarly situated, by denying access to, and full
  and equal enjoyment of goods, services, facilities, privileges, advantages and/or
  accommodations at the Subject Facility, as prohibited by 42 U.S.C. §12182, and
  42 U.S.C. §12101 et. seq.; by failing to make reasonable modifications in
  policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and
  by    failing   to   remove   architectural   barriers   pursuant   to   42   U.S.C.
  §12182(b)(2)(A)(iv).



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  23.    Unless       declared    that   the    Subject   Facility   owned,    operated    and/or
  controlled by the Defendants is in violation of the ADA, Defendants shall
  continue to discriminate against Plaintiff, and others who are similarly situated,
  by denying access to, and full and equal enjoyment of goods, services, facilities,
  privileges, advantages and/or accommodations at the Subject Facility.


         WHEREFORE, Plaintiff demands judgment against the Defendants and
  requests that this Honorable Court declare that the Subject Facility owned,
  operated and/or controlled by the Defendants is in violation of Title III of the
  ADA, and award reasonable attorney's fees, all costs (including, but not limited
  to court costs and expert fees) and other expenses of suit, to Plaintiff.


        COUNT II- INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL
                                               BARRIERS


  24.    Plaintiff hereby incorporates by reference all of the allegations set forth
  in paragraphs 1 through 23 above as though fully set forth verbatim herein.


  25.    Unless enjoined by the Court, Defendants shall continue to discriminate
  against Plaintiff, and others who are similarly situated, by denying access to,
  and    full   and    equal     enjoyment     of   goods,   services,   facilities,   privileges,
  advantages and/or accommodations at the Subject Facility by failing to remove
  architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).


         WHEREFORE, Plaintiff demands judgment against the Defendants and
  requests that this Honorable Court enter an Order requiring Defendants to alter
  the Subject Facility and remove architectural barriers to make the Subject
  Facility accessible to and usable by individuals with disabilities to the full
  extent required by Title III of the ADA, and award reasonable attorney's fees,
  all costs (including, but not limited to court costs and expert fees) and other
  expenses of suit, to Plaintiff.

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               COUNT III- INJUNCTIVE RELIEF TO MODIFY POLICIES,
                             PRACTICES AND PROCEDURES


  26.   Plaintiff hereby incorporates by reference all of the allegations set forth
  in paragraphs 1 through 25 above as though fully set forth verbatim herein.


  27.   Unless enjoined by the Court, Defendants shall continue to discriminate
  against Plaintiff, and others who are similarly situated, by denying access to,
  and   full   and   equal   enjoyment   of   goods,   services,   facilities,   privileges,
  advantages and/or accommodations at the Subject Facility by failing to make
  reasonable modifications in policies, practices, or procedures pursuant to 42
  U.S.C. §12182(b)(2)(A)(ii).


        WHEREFORE, Plaintiff demands judgment against the Defendants and
  requests that this Honorable Court enter an Order requiring Defendants to
  evaluate, neutralize and modify their policies, practices and procedures as are
  necessary to make the Subject Facility accessible to and usable by individuals
  with disabilities to the full extent required by Title III of the ADA, and award
  reasonable attorney's fees, all costs (including, but not limited to court costs
  and expert fees) and other expenses of suit, to Plaintiff.


          COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  28.   Plaintiff hereby incorporates by reference all of the allegations set forth
  in paragraphs 1 through 27 above as though fully set forth verbatim herein.


  29.   Unless enjoined by the Court, Defendants shall continue to discriminate
  against Plaintiff, and others who are similarly situated, by denying access to,
  and   full   and   equal   enjoyment   of   goods,   services,   facilities,   privileges,
  advantages and/or accommodations at the Subject Facility by failing to maintain
  compliance with the ADA by allowing physical alterations to revert back into

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  noncompliance, and by failing to enforce any modifications in policies,
  practices, or procedures.


         WHEREFORE, Plaintiff demands judgment against the Defendants and
  requests that this Honorable Court enter an Order requiring Defendants to
  maintain the alterations and modifications required to keep the Subject Facility
  accessible to and usable by individuals with disabilities and in compliance with
  Title III of the ADA, and award reasonable attorney's fees, all costs (including,
  but not limited to court costs and expert fees) and other expenses of suit, to
  Plaintiff.




  Dated this January 27, 2022.


  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No. 10089
  THE ADVOCACY LAW FIRM, P.A.
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  Attorney for Plaintiff, HOWARD MICHAEL CAPLAN




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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO.

  HOWARD MICHAEL CAPLAN,

              Plaintiff,

              vs.

  CARIBBEAN AUTOWORKS, INC., a
  Florida Profit Corporation, DAMIAN ROSE
  and CINDY LOU ROSE, Individuals,

            Defendants.
  _______________________________/

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 27, 2022, I electronically filed the
  Complaint along with a Summons for each Defendant with the Clerk of Court
  using CM/ECF. I also certify that the aforementioned documents are being
  served on all counsel of record, corporations, or pro se parties identified on the
  attached Service List in the manner specified via Service of Process by an
  authorized Process Server, and that all future pleadings, motions and documents
  will be served either via transmission of Notices of Electronic Filing generated
  by CM/ECF or via U.S. Mail for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing.

  By: Ronald E. Stern
  Ronald E. Stern, Esq.
  Florida Bar No.: 10089
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  Attorney for Plaintiff HOWARD MICHAEL CAPLAN




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                                 SERVICE LIST:

   HOWARD MICHAEL CAPLAN, Plaintiff, vs. CARIBBEAN AUTOWORKS, INC., a
      Florida Profit Corporation, DAMIAN ROSE and CINDY LOU ROSE, Individuals

              United States District Court Southern District of Florida

                                     CASE NO.


  CARIBBEAN AUTOWORKS, INC.

  REGISTERED AGENT:

  ROSE, DONOHUE
  6610 PEMBROKE RD.
  PEMBROKE PINES, FL 33023

  VIA PROCESS SERVER


  DAMIAN ROSE

  15450 S ROUNDTABLE RD
  DAVIE, FL 33331

  VIA PROCESS SERVER


  CINDY LOU ROSE

  15450 S ROUNDTABLE RD
  DAVIE, FL 33331

  VIA PROCESS SERVER




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